           Case:21-00066-ESL7 Doc#:33 Filed:03/29/21 Entered:03/29/21 16:10:11                                                     Desc: Main
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B2030 (Form 2030) (12/15)
                                                                 United States Bankruptcy Court
                                                                     District of Puerto Rico
 In                                                                                                                   Case
 re         Lizette Alejandro Pena                                                                                    No.     21-00066 ESL
                                                                                  Debtor(s)                           Chapter 7
                                                                      AMENDED
                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above-named debtor(s) and that compensation paid to me within one year before the filing of the petition in
       bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
       contemplation of or in connection with the bankruptcy case is as follows:

              NO LOOK FEE
             For legal services, I have agreed to accept ..................................                      $
             Prior to the filing of this statement I have received .....................                         $
             Balance Due .................................................................................       $

              RETAINER
            For legal services, I have agreed to accept and received a retainer $                                             1,950.00
        of .......................................................................................................
             The undersigned shall bill against the retainer at an hourly rate of $                                            275.00
         ..........................................................................................................
              [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay
              all Court approved fees and expenses exceeding the amount of the
              retainer.


2.     $     50.00          of the filing fee has been paid.
3.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):
4.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):
5.            I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.
               I have agreed to share the above-disclosed compensation with a person or persons who are not members
            or associates of my law firm. A copy of the agreement, together with a list of the names of the people
            sharing in the compensation is attached.
6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
       case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to
          file a petition in bankruptcy;

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          Case:21-00066-ESL7 Doc#:33 Filed:03/29/21 Entered:03/29/21 16:10:11                                 Desc: Main
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 In re       Lizette Alejandro Pena                                                        Case No.   21-00066 ESL
                                                              Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                            (Continuation Sheet)
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
          hearings thereof;
       d. [Other provisions as needed]
              Time will be charged off @ $275 per hour. No contested matters are foreseen at this time, but if
              §341 meetings are unreasonably continued by Trustees, or informal or formal discovery &/or
              contested matters outside the scope of a basic chapter 7 case additional fees will be charged.
7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from
             stay actions or any other adversary proceeding.
                                                                      CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
 representation of the debtor(s) in this bankruptcy proceeding.
     March 29, 2021                                                        /s/ Lyssette A. Morales
     Date                                                                  Lyssette A. Morales
                                                                           Signature of Attorney
                                                                           L A Morales & Associates P.S.C.
                                                                           Urb Villa Blanca
                                                                           76 Aquamarina
                                                                           Caguas, PR 00725-1908
                                                                           787-746-2434 Fax: 855-298-2515
                                                                           lamoraleslawoffice@gmail.com
                                                                           Name of law firm




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